
PER CURIAM.
The trial judge departed upward from the recommended guidelines sentence in this case based on multiple violations of probation/community control. Subsequently, the Florida Supreme Court has held that multiple violations of probation are not valid reasons to depart from the guidelines but that “where there are multiple violations of probation, the sentence may be successively bumped to one higher cell for each violation.” Williams v. State, 594 So.2d 273 (Fla.1992). Therefore, we reverse the sentences herein and remand for resentencing consistent with Williams. We reject appellant’s other point on appeal.
Affirmed in part, reversed in part.
DANAHY, A.C.J., and PARKER and PATTERSON, JJ., concur.
